                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION


LYNDA DANIEL,                                 )
                                              )
       Plaintiff,                             )       Case No.
                                              )
v.                                            )       Cass County Circuit Court
                                              )       No.: 21CA-CC00102
C.R. ENGLAND, INC. and                        )
MICHELLE WADE,                                )
                                              )       JURY TRIAL DEMANDED
       Defendants.                            )

             DEFENDANTS C.R. ENGLAND, INC. AND MICHELLE WADE’S
                            NOTICE OF REMOVAL

       Defendants C.R. England, Inc. and Michelle Wade, pursuant to 28 U.S.C. §§ 1332, 1441

and 1446, file this Notice for the Removal of the above-entitled action to the United States District

Court for the Western District of Missouri, Western Division, and in support thereof state as

follows:

       A.      Venue is proper in the United States District Court for the Western District of
               Missouri, Western Division

       1.      The above-entitled action was filed by Plaintiff in Cass County, Missouri as Case

No. 21CA-CC00102 on May 5, 2021.

       2.      Pursuant to 28 U.S.C. §1446(a), venue lies in the United States District Court for

the Western District of Missouri, Western Division, because Cass County, Missouri is within the

Western District of Missouri, Western Division.

       B.      The Procedural Requirements for Removal are Satisfied

       3.      Defendant Michelle Wade was served with the Summons and Complaint on or

about October 7, 2021, and Defendant C.R. England, Inc. was served with the Summons and




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Complaint on or about October 23, 2021. Therefore, this Notice of Removal is timely filed

pursuant to 28 U.S.C. §1446(b)(1).

       4.      Written notice of the filing of this Notice of Removal is being given to Plaintiff and

a copy of this Notice of Removal is being filed with the Cass County Clerk of Court pursuant to

28 U.S.C. §1446(d).

       5.      Copies of all known process and pleadings are filed contemporaneously with this

Notice of Removal in accordance with 28 U.S.C. §1446(a). See Exhibit A.

       C.      There is Diversity Among The Parties

       6.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. §1332(a),

and removal to this Court is proper pursuant to 28 U.S.C. §1441(b)(2), because there is complete

diversity of citizenship between all parties.

       7.      Plaintiff Lynda Daniel was, at the time of the commencement of this action, and

have been ever since, an individual domiciled in Springfield, Greene County, Missouri and is a

citizen of Missouri.

       8.      Defendant C.R. England, Inc. is a Utah corporation in good standing with its

principal place of business in Salt Lake City, Utah, at both the time of the commencement of this

action and at the time of this removal.

       9.      Defendant Michelle Wade was, at the time of the commencement of this action,

and have been ever since, an individual domiciled in Canton, Ohio and is a citizen of Ohio.

       D.      Consent of Served Defendants

       10.     28 U.S.C. §1146(b)(2)(A) provides: “When a civil action is removed solely under

section 1441(a), all defendants who have been properly joined and served must join in or consent

to the removal of the action.”




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          11.       Defendants C.R. England, Inc. and Michelle Wade consent to the removal of this

action.

          E.        The Amount in Controversy Exceeds $75,000

          12.       The amount in controversy, exclusive of interest and costs, exceeds $75,000.00 as

required by 28 U.S.C. §1332(a).

          13.       “If removal of a civil action is sought on the basis of the jurisdiction conferred by

section 1332 (a), the sum demanded in good faith in the initial pleading shall be deemed to be the

amount in controversy, except that – (A) the notice of removal may assert the amount in

controversy if the initial pleading seeks – (ii) a money judgment, but the State practice either does

not permit demand for a specific sum or permits recovery of damages in excess of the amount

demanded.” 28 U.S.C. §1446(c)(2)(A)(ii).

          14.       Under Missouri Supreme Court Rule 55.05, a plaintiff alleging a tort claim is not

permitted to plead a specific dollar amount, except to determine jurisdiction. Carlyon v. Counts,

4:16 CV 776 CDP, 2016 WL 3753704, at *1 (E.D. Mo. July 14, 2016).

          15.       “A removing party need not show that the plaintiff will prevail or collect more than

$75,000 if he does. The burden, rather, is to show what the plaintiff hopes to get out of the

litigation; if this exceeds the jurisdictional amount, then the case proceeds in federal court unless

a rule of law will keep the award under the threshold.” See e.g. Rising-Moore v. Red Roof Inns,

Inc., 435 F.3d 813, 816 (7th Cir. 2006).

          16.       Here, Plaintiff Lynda Daniel alleges in her First Amended Complaint that she was

allegedly struck by a tractor-trailer at highway speed and that she:

                   Was transported by ambulance to Research Medical Center from the accident
                    scene;
                   Has been caused to suffer “severe personal injuries”;



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                Has been caused to incur substantial medical care and treatment expenses to obtain
                 the necessary care and treatment for her injuries, and will be required to incur
                 further expenses for additional care and treatment in the future; and
                Has suffered damages for the pain, suffering, emotional distress, mental anguish
                 and loss of enjoyment of life, lost wages, and all other damages allowed under
                 Missouri law.

(See Exhibit A)

       17.       In light of these allegations, a good faith estimate of the amount in controversy

exceeds $75,000, exclusive of interest and costs, and it is not legally certain that the amount in

controversy is less than $75,000.

       18.       Further, “[w]here the other elements of jurisdiction are present and at least one

named plaintiff in the action satisfies the amount-in-controversy requirements [28 U.S.C. §1367]

does authorize supplemental jurisdiction over the claims of other plaintiffs in the same Article III

case or controversy, even if those claims are for less than the jurisdictional amount specified in

[28 U.S.C. §1332(a)].” Exxon Mobil Corp. v. Allapattah Services, Inc., 545 U.S. 546, 549 (2005).

       WHEREFORE, Defendants C.R. England, Inc. and Michelle Wade remove this case to

the United States District Court for the Western District of Missouri and hereby request that the

filing of this Notice of Removal shall effect the removal of said civil action to this Court.


                                                    /s/ Kevin L. Fritz
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                                                  Attorneys for Defendants C.R. England, Inc.
                                                  and Michelle Wade



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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on November 5, 2021, the foregoing was filed electronically
with the Clerk of the Court to be served upon: Chad Lucas, Andrew Tremonti, Kohlman & Lucas,
LLC, 4700 Belleview Avenue, Suite 300, Kansas City, MO 64112, chad@kuhlmanlucas.com,
andrew@kuhlmanlucas.com; and Christopher Benjamin, KC Road Lawyers, 218 NE Tudor Road,
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                                                  /s/ Kevin L. Fritz




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